Case 1:14-cv-00459-JCC-TRJ Document 62 Filed 10/21/14 Page 1 of 4 PagelD# 871

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

 

MARK RYAN ALLEN, SCOTT BIMBA,
DAVID BLACKWELL, MATTHEW
BOYCE, SCOTT CARLISLE, RAYMOND S$.
FRY III, DANIEL KLEIN, TIM LANE,
RYAN McGOUGH, NICHOLAS ROSS,
REGINALD SIMPSON, SPIROS MYLES
THEODORE, JEFF WHITE, JACKSON
HOU, ERIC RINKER, HARMANDEEP
SINGH, STEVEN W. WRIGHT JR., MICHAEL | Civil Action No. 1:14-cv-00459-JCC-TRJ
BEST, BRETT SAMPSON, BRYAN
MURPHY, GEORGE BARKSDALE,
JOSHUA BAFALIS, and KEVIN FRYE,

Plaintiffs,
v.
COGENT COMMUNICATIONS, INC.,

Defendant.

 

 

NOTICE TO FILE SETTLEMENT AGREEMENTS WITH AGREED MOTION TO
APPROVE SETTLEMENTS AND JOINT STIPULATION FOR DISMISSAL

Plaintiffs, Mark Ryan Allen (“Allen”), Joshua Bafalis (“Bafalis”), George Barksdale
(“Barksdale”), Scott Bimba (“Bimba”’), David Blackwell (“Blackwell”), Matthew Boyce
(“Boyce”), Scott Carlisle (“Carlisle”), Kevin Frye (“Frye”), Daniel Klein (“Klein”), Ryan
McGough (“McGough”), Bryan Murphy (“Murphy”), Eric Rinker (“Rinker”), Brett Sampson
(“Sampson”), Reginald Simpson (“Simpson”), Harmandeep Singh (“Singh”), Spiros Myles
Theodore (“Theodore”), Jeff White (“White”), and Steven W. Wright, Jr. (“Wright”)
(collectively, “Plaintiffs”), and Defendant, Cogent Communications, Inc. (“Defendant”)
(collectively with Plaintiffs, the “Parties”), hereby file this Notice to File Settlement Agreements
with Agreed Motion to Approve Settlements and Joint Stipulation for Dismissal and respectfully

state:
Case 1:14-cv-00459-JCC-TRJ Document 62 Filed 10/21/14 Page 2 of 4 PagelD# 872

iF On October 3, 2014, the Parties filed an Agreed Motion to Approve Settlements
and Joint Stipulation for Dismissal of Plaintiffs Allen, Bafalis, Barksdale, Bimba, Blackwell,
Boyce, Carlisle, Frye, Klein, McGough, Murphy, Rinker, Sampson, Simpson, Singh, Theodore,
White, and Wright With Prejudice (“Motion”), as Document Number 57. In the Motion, the
Parties advised this Court of their agreement to keep the terms and conditions of the Settlement
Agreements executed between the Parties confidential. To that end, the Parties submitted the
Settlement Agreements to this Court for an in camera review.

2, After filing the Motion and submitting the Settlement Agreements for an in
camera review, this Court notified the Parties that additional briefing was required on the issue
of submitting the Settlement Agreements for an in camera review. In particular, this Court
advised the Parties that the Settlement Agreements would be entered into the record of this case
(and, thus, made public) unless the Parties could show a compelling reason for keeping them
confidential.

3. While Cogent maintains that compelling reasons exist to keep the Settlement
Agreements confidential, the Parties nevertheless desire, and value more, prompt approval of the
Settlement Agreements from this Court. Accordingly, the Parties are no longer seeking to
maintain the confidentiality of the Settlement Agreements and have instead agreed to file the
Settlement Agreements and enter them into the record for this Court’s review. The Settlement
Agreements between Cogent and Plaintiffs Allen, Bafalis, Barksdale, Bimba, Blackwell, Boyce,
Carlisle, Frye, Klein, McGough, Murphy, Rinker, Sampson, Simpson, Singh, Theodore, White,
and Wright are attached to this Notice as Exhibits 1-18 and are linked back to the original

Motion filed as Document Number 57.
Case 1:14-cv-00459-JCC-TRJ Document 62 Filed 10/21/14 Page 3 of 4 PagelD# 873

Respectfully submitted,

/s/ Grege C. Greenberg /£ Jp
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Case 1:14-cv-00459-JCC-TRJ Document 62 Filed 10/21/14 Page 4 of 4 PagelD# 874

CERTIFICATE OF SERVICE

I hereby certify that on the 21° day of October, I will electronically file the foregoing with
the Clerk of Court using the CM/ECF system, which will then send a notification of such filing
(NEF) to the following:

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And, I hereby certify that I will mail the document by certified mail, return receipt
requested to the following non-filing users:

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